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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             )       Docket No. 1:21-cr-00025
                                                      )
                                                      )
                v.                                    )       ELECTRONICALLY FILED
                                                      )
                                                      )
JORDEN MINK,                                          )      The Honorable Randolph D. Moss
                                                      )
                Defendant.                            )


            MOTION FOR VIDEO VISITATION WITH COUNSEL AND FAMILY

       AND NOW, comes Defendant, Jorden Mink (hereinafter “Mr. Mink”), by and through his

counsel, Komron Jon Maknoon, Esquire, and files this Motion for Video Visitation with Counsel

and Family. In support of the within motion, Mr. Mink avers as follows:

       1.       On January 27, 2021, Mr. Mink was indicted on alleged violations of 18 U.S.C. §§

1512(c)(2) and 2, 18 U.S.C. §§ 641 and 2, 18 U.S.C. § 1361, 18 U.S.C. § 1752(a)(1) and (b)(1)(A),

40 U.S.C. § 5104(e)(2)(D), 40 U.S.C. § 5104(e)(2)(F), and 40 U.S.C. § 5104(e)(2)(G) (See ECF

Doc. No. 5).

       2.       On February 24, 2021, a superseding indictment was issued with the same alleged

violations, but with the addition of alleged violations of 18 U.S.C. § 231(a)(3), 18 U.S.C. 111(a)(1)

and (b), and 18 U.S.C. § 111(a)(1) (See ECF Doc. No. 7).

       3.       On January 25, 2022, undersigned counsel respectfully entered his appearance on

behalf of Mr. Mink (See ECF Doc. No. 48).

       4.       On October 18, 2022, the Office of the United States Attorney for the District of

Columbia extended a plea offer to Mr. Mink with an expiration date of November 14, 2022.



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        5.         On November 7, 2022, the expiration date of the plea agreement was extended to

November 30, 2022.

        6.         It is important for Mr. Mink to speak with his family prior to acceptance of any plea

offer due to the impact on his family.

        7.         Undersigned counsel has the ability to meet with Mr. Mink through a legal video

visit via Microsoft Teams provided by the DC Correctional Treatment Facility (DC CTF).

        8.         Pending pretrial detention, the DC CTF does not provide inmates the ability to do

video visitation nor in-person visits unless they are fully vaccinated.

        9.         In turn, Mr. Mink, has not had the ability to see his family in-person or by video

for approximately eighteen (18) months.

        10.        Undersigned counsel believes with good faith that it is of great importance to allow

Mr. Mink’s mother, Lizabeth Mink, fiancée of nine (9) years, Lexie Otey, and son, RM, to be a

part of his attorney-client legal video visit and discuss resolution of the case as a family.

        11.        Tentatively, this legal video visit will occur on November 18, 2022, in undersigned

counsel’s office via Microsoft Teams through the DC Correctional Treatment Facility.

        12.        If the relief requested within is granted, undersigned counsel would attend the visit

in its entirety.

        13.        On October 31, 2022, Assistant United States Attorney Barry Disney stated that the

government has no objection to this video visitation.

        WHEREFORE, Mr. Mink respectfully requests that this Honorable Court grant permission

to allow Mr. Mink’s mother, Lizabeth Mink, fiancée of nine (9) years, Lexie Otey, and son, RM

to join undersigned counsel during his attorney-client legal video visit with Mr. Mink to discuss

resolution of the case.


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                                  Respectfully submitted,


                                  /s/ Komron Jon Maknoon
                                  Komron Jon Maknoon, Esquire
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